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      HILLAIR CAPITAL MANAGEMENT, LLC
11
                            UNITED STATES BANKRUPTCY COURT
12
                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
13
     In re                                   Lead Case No. 2:19-bk-14989-WB
14
     SCOOBEEZ, INC., et al.                  Chapter 11
15
                       Debtors and Debtors   (Jointly Administered with
16                     in Possession.        Case Nos. 2:19-bk-14991; 2:19-bk-14997)
17
     Affects:                                HILLAIR CAPITAL MANAGEMENT, LLC’S
18                                           REPLY REGARDING MOTION FOR ORDER
             All Debtors                     AUTHORIZING FILING OF CONFIDENTIAL
19                                           DOCUMENTS UNDER SEAL PURSUANT TO
             SCOOBEEZ, INC., only            FEDERAL RULE OF BANKRUPTCY
20
             SCOOBEEZ GLOBAL, INC.           PROCEDURE 9018
21           only
                                             Continued Hearing:
22           SCOOBUR, LLC only               Date:        November 18, 2019
                                             Time:        10:00 a.m.
23                                           Place:       U.S. Bankruptcy Court
                                                          Courtroom 1375
24                                                        255 East Temple Street
25                                                        Los Angeles, CA 90012

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 1   TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
 2   THE DEBTORS, THEIR COUNSEL AND ALL PARTIES IN INTEREST:
 3          Hillair Capital Management LLC and its affiliates (collectively, “Hillair”), senior secured
 4   creditor of Scoobeez, Inc., a California corporation, debtor in the above-captioned chapter 11
 5   bankruptcy case (“Scoobeez”), and its affiliated debtors, Scoobeez Global, Inc., an Idaho
 6   corporation (formerly known as ABT Holdings, Inc.) (“Scoobeez Global”) and Scoobur, LLC, a
 7   California limited liability company (“Scoobur”) (collectively, the “Debtors”), submit this reply
 8   regarding their Ex Parte Motion for Order Authorizing Filing of Confidential Documents Under
 9   Seal [Docket No. 365] (the “Motion to Seal”).
10          In connection with the sale of substantially all of the Debtors’ assets to Hillair, the
11   Debtors and Hillair entered into that certain Asset Purchase Agreement as of September 11, 2019.
12   See Docket No. 318. On September 19, 2019, the Debtors filed their Motion for Entry of Order
13   (I) Authorizing the Sale of Substantially All of the Assets of Debtor Outside the Ordinary Course
14   of Business, Etc. [Docket No. 329] (the “Sale Motion”) seeking to sell substantially all of the
15   Debtors’ assets to Hillair as the stalking horse bidder. The Debtors also filed on September 19,
16   2019, their Notice of Potential Assumption and Assignment of Executory Contracts and
17   Unexpired Leases in Connection with the Sale [Docket No. 336] (the “Assumption Notice”).
18          On October 1, 2019, Amazon Logistics, Inc. (“Amazon”) filed its Objection to
19   Assumption and Assignment of Delivery Providers Terms of Service Work Order [Docket No.
20   349] (the “Amazon Objection”). Certain of the Debtors’ equity holders also filed objections to
21   the Debtors’ Sale Motion: (1) the Opposition to Motion for Entry of Order (I) Authorizing the
22   Sale of Substantially All of the Assets of Debtor, Etc. [Docket No. 344], and (2) the Joinder and
23   Opposition to Motion for Entry of Order (I) Authorizing the Sale of Substantially All of the Assets
24   of Debtor, Etc. [Docket No. 354] (collectively, the “Sale Objections”)
25          Hillair filed its Motion to Seal to seek authorization from the Court to file two exhibits
26   under seal with respect to Hillair’s omnibus reply to the Sale Objections and reply to the Amazon
27   Objection. The matter was set for hearing on October 17, 2019 and subsequently continued to
28
                                                     1
         HILLAIR CAPITAL MANAGEMENT, LLC’S REPLY REGARDING MOTION FOR ORDER AUTHORIZING FILING OF
         CONFIDENTIAL DOCUMENTS UNDER SEAL PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9018
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 1   November 18, 2019 for the parties to attempt to resolve the issues relating to the Sale Motion, the
 2   Assumption Notice and the Amazon Objection.
 3          The Debtors were not able to resolve the Amazon Objection or assign the underlying
 4   agreement with Amazon to Hillair. Since Amazon is the Debtors’ only source of revenue, this
 5   failure constituted a “material adverse effect” under the Asset Purchase Agreement. Accordingly,
 6   on November 1, 2019 Hillair exercised its rights under the Asset Purchase Agreement to
 7   terminate that agreement.
 8          Hillair understands that the Debtors will not be proceeding with a sale of the Debtors’
 9   assets to Hillair or any other party, and that they intend to withdraw the Sale Motion. For this
10   reason, Hillair’s Motion to Seal and the related Amazon Logistics, Inc.’s Opposition to Motion to
11   File Under Seal [Docket No. 416] are moot. Hillair hereby withdraws its Motion to Seal and
12   does not intend to submit the exhibits that were the subject of the Motion to Seal into evidence.
13   DATED: November 12, 2019                             BUCHALTER, a Professional Corporation
14
                                                          By      /s/ Anthony J. Napolitano
15                                                                STEVEN M. SPECTOR
                                                                  ANTHONY J. NAPOLITANO
16
                                                          and
17
                                                          OLSHAN FROME WOLOSKY LLP
18
                                                                  ADAM H. FRIEDMAN
19
                                                          Attorneys for secured creditor
20                                                        HILLAIR CAPITAL MANAGEMENT, LLC
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         HILLAIR CAPITAL MANAGEMENT, LLC’S REPLY REGARDING MOTION FOR ORDER AUTHORIZING FILING OF
         CONFIDENTIAL DOCUMENTS UNDER SEAL PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9018
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
BUCHALTER, 1000 Wilshire Blvd, Suite 1500, Los Angeles, CA 90017
A true and correct copy of the foregoing document entitled (specify) HILLAIR CAPITAL MANAGEMENT, LLC’S REPLY
REGARDING MOTION FOR ORDER AUTHORIZING FILING OF CONFIDENTIAL DOCUMENTS UNDER SEAL
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9018 will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 12, 2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
    • Richard T Baum rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
    • Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
    • Richard W Esterkin richard.esterkin@morganlewis.com
    • John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
    • Riebert Sterling Henderson shenderson@gibbsgiden.com
    • Vivian Ho BKClaimConfirmation@ftb.ca.gov
    • David Brian Lally davidlallylaw@gmail.com
    • Alvin Mar alvin.mar@usdoj.gov, dare.law@usdoj.gov
    • Ashley M McDow amcdow@foley.com, sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
    • Stacey A Miller smiller@tharpe-howell.com
    • Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
    • Shane J Moses smoses@foley.com
    • Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
    • Rejoy Nalkara rejoy.nalkara@americaninfosource.com
    • Anthony J Napolitano anapolitano@buchalter.com, IFS_filing@buchalter.com;salarcon@buchalter.com
    • Jennifer L Nassiri jennifernassiri@quinnemanuel.com
    • David L. Neale dln@lnbyb.com
    • Aram Ordubegian ordubegian.aram@arentfox.com
    • Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
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    •    Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
    •    Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
    •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •    Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
    •    Eric D Winston ericwinston@quinnemanuel.com
    •    Eric K Yaeckel yaeckel@sullivanlawgroupapc.com
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 12, 2019 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor
Scoobeez
3463 Foothill Blvd.
Glendale, CA 91214



                                                                                            Service information continued on attached page


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 12, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA OVERNIGHT MAIL
Hon. Julia W. Brand
U.S. Bankruptcy Court – Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012




                                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

November 12, 2019               Sandra Alarcon                                                 /s/ Sandra Alarcon
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
